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HC©: O SHERIFF ED GONZALEZ

SHERIFE'S >" OF FICE 1200 Baker Street, Houston, Texas 77002 * (346) 286-1600 * www.sheriff.hcbx.net
AFFIDAVIT
STATE OF TEXAS
COUNTY OF HARRIS

Before the undersigned authority personally appeared Lieutenant Christopher Garza, of the
Internal Affairs Division, of Houston, Texas. DO SOLEMNLY DECLARE THAT:
1. In response to the request for Internal Affairs reports related to the Adael Gonzalez Garcia,
UOF2022-01652. The Internal Affairs Division hereby objects to disclosure for the requested
information. This is an open and active criminal investigation and any disclosure would interfere
with the detection, investigation, or prosecution of a crime.
2. All statements made are of my own knowledge and are true and that all statements made
on information and belief are believed to be true.

I declare under penalty of perjury that the foregoing is true and correct. Executed on this

the a a ary of Ue vid , 2023.

Affiant

SUBSCRIBED AND SWORN TO BEFORE ME, on this the 773 day of juve

2023.

NHUT QUANG NGUYEN

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sr Notary Publio-State of Texas a iii
Notary ID #13400671-8 Notary Pubic, State 0
Commission Exp. OCT. 07, 2026

